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                                                       June 8, 2021
 VIA ECF

 Hon. Magistrate Judge Debra Freeman
 Daniel Patrick Moynihan
 United States Courthouse
 500 Pearl St.
 New York, NY 10007-1312

 Re:    Baliga, et al. v. Link Motion Inc., et al., Case No. 1:18-cv-11642-VM-DCF (S.D.N.Y.);

 Dear Judge Freeman:

         We represent Defendant Vincent Wenyong Shi (“Shi”) and, solely with respect to the
 contemplated motion to dismiss the Second Amended Complaint (the “SAC”), Defendant Link
 Motion Inc. (the “Company”) (see Dkt. No. 175). We write pursuant to the Court’s directive, in
 the May 26, 2021 Memorandum Order (Dkt. No. 221, the “Memorandum Order”), to meet and
 confer in good faith regarding briefing schedules for the contemplated renewed motion by Shi to
 dissolve the receivership (the “Receivership Motion”) and the renewed motion by Shi and the
 Company to dismiss the SAC (the “Dismissal Motion”).

         On May 27, 2021, the undersigned requested dates of availability from counsel for Plaintiff
 Wayne Baliga (“Plaintiff”) and Robert W. Seiden (the “Receiver”) to discuss a briefing schedule.
 Ultimately, counsel for Plaintiff, Shi, the Company and the Receiver met and conferred by
 videoconference on June 8, 2021. During the conference, counsel for the Receiver advised that the
 Receiver does not expect to file papers in response to the Receivership Motion or the Dismissal
 Motion, but he reserves the right to do so upon review of the papers once they are filed. Counsel
 for Plaintiff advised that Plaintiff expects to file on June 9, 2021 an objection to the Memorandum
 Order (the “Objection”) and, following a ruling on that Objection, a motion for leave to amend the
 SAC to assert derivative claims.

         In light of the anticipated filing of an Objection by Plaintiff tomorrow, the parties propose,
 subject to the Court’s approval, the following briefing schedule:

        -   Shi shall file the Receivership Motion by June 11, 2021;
        -   Shi and the Company shall file by June 11, 2021 either (i) a letter advising that Shi and
            the Company have elected to defer filing of the Dismissal Motion until after a ruling
            on the Objection; or (ii) the Dismissal Motion;
        -   Shi shall file his response to the Objection by June 25, 2021;
        -   Plaintiff and the Receiver shall file any papers in opposition to the Receivership Motion
            (and the Dismissal Motion, if so filed) by July 12, 2021; and




                                                                           *Admitted to practice law in New York
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       -   Shi shall file his reply papers in further support of the Receivership Motion (and the
           Dismissal Motion, if so filed) by August 2, 2021.

        Counsel for Plaintiff and the Receiver have reviewed the contents of this letter and consent
to the briefing schedule proposed herein.

                                                     Respectfully submitted,

                                                     /s/ Michael James Maloney

                                                     Michael James Maloney

cc:    All counsel of record (via ECF)
